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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES RICE KENDALL and                            No. 4:21-CV-01491
ANN P. HOCHBERG, as Trustees for
The Thomas E. Procter Heirs Trust,                  (Chief Judge Brann)

             Plaintiffs,

       v.

EQT AMD LLC, EQT ARO LLC,
INTERNATIONAL DEVELOPMENT
CORP., and SWN PRODUCTION
COMPANY, LLC,

             Defendants.

                                     ORDER

                                   MAY 18, 2023

      Nineteen months ago, Defendants EQT AMD LLC and EQT ARO LLC

filed a motion to dismiss the Complaint. That motion has been ripe for over a year-

and-a-half, but it remains on the docket unaddressed—stuck in a holding pattern

because of two pending related actions (one federal, one state) that are more

procedurally advanced and that involve the same state law issues in question here.

The extended abeyance, however, is not the result of any formal court order.

Instead, this Court has effectively imposed an informal stay pending some

guidance from either the United States Court of Appeals for the Third Circuit or

the Pennsylvania Supreme Court on the related actions. The wisdom of that

approach seemed plain enough when the Court adopted it. But that was a year ago.
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And today, the outstanding motion to dismiss is no closer to resolution than it was

then. Accordingly, more formal instruction from this Court is required.

       During a telephonic status conference held yesterday, counsel for all parties

endorsed an order staying proceedings, but they differed on what the parameters of

that order should be. This case concerns the ownership of subsurface mineral rights

on 44 tracts of land in Pennsylvania’s Lycoming and Sullivan Counties, but the

motion to dismiss filed by EQT1 pertains to only a subset of those tracts—the

thirteen so-called “Unassessed Properties.” According to Plaintiffs’ counsel, the

questions of state law presented in EQT’s motion—and at issue in the related

actions—are relevant to only the thirteen Unassessed Properties, and, as such, any

stay issued by this Court should be limited to those tracts; the case should proceed

as to the remaining 31 tracts at issue. Conversely, counsel for EQT contends that

that the state law issues raised in its motion affect all (or nearly all) of the 44 tracts,

and that a ruling by the Third Circuit or Pennsylvania Supreme Court on those

issues could dictate the global resolution of this case. As such, EQT supports

staying the case in full.




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    For purposes of this Order, the Court refers to Defendants EQT AMD LLC and EQT ARO
    LLC collectively as “EQT.”
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    Resolving this dispute will require fulsome briefing. Accordingly, IT IS

HEREBY ORDERED that:

       1.    EQT shall file a motion to stay proceedings, and an accompanying

             brief in support, by June 6, 2023;

       2.    The Plaintiffs shall file a brief in opposition by June 20, 2023;

       3.    To the extent Defendants International Development Corporation

             and SWN Production Company, LLC wish to be heard on the

             matter, they shall file their respective briefs by June 20, 2023; and

       4.    No brief with the Court should exceed twenty-five (25) pages in

             length.




                                           BY THE COURT:


                                           s/ Matthew W. Brann
                                           Matthew W. Brann
                                           Chief United States District Judge




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